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MM Gmai

Hearing

Nicholas Smith <nds@davidbsmithpllc.com>

Katrina Harris <Katrina_Harris@dcd.uscourts.gov> Wed, May 3, 2023 at 9:05 AM
To: "McCullough, Jason (USADC)” <Jason.McCullough2@usdoj.gov>, "Kenerson, Erik (USADC)"
<Erik.Kenerson@usdoj.gov>, "Mulroe, Conor (CRM)" <Conor.Mulroe@usdoj.gov>, "Moore, Nadia (USADC)"
<Nadia.Moore@usdoj.gov>, Nicholas Smith <nds@davidbsmithpllc.com>, "J. Daniel Hull" <jdhull@hullmcguire.com>, Norm
Pattis <NPattis@pattisandsmith.com>, "chernan7_aol.com" <chernan7@aol.com>, Nayib Hassan
<hassan@nhassanlaw.com>, "sabino@jaureguilaw.com" <sabino@jaureguilaw.com>, "fedcases@metcalflawnyc.com"
<fedcases@metcalflawnyc.com>, "rogerisaacroots@outlook.com" <rogerisaacroots@outlook.com>

Judge will be taking the bench at 9:20AM to address the verdict form.

Katrina Harris

Courtroom Deputy to the Honorable Timothy J. Kelly
U.S. District Court for the District of Columbia

333 Constitution Avenue, NW

Washington, DC 20001

(202) 354-3495

Katrina_Harris@dcd.uscourts.gov
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Note 8 received - USA v. Nordean

Nicholas Smith <nds@davidbsmithpllc.com>

Katrina Harris <Katrina_Harris@dcd.uscourts.gov> Wed, May 3, 2023 at 9:24 AM
To: "McCullough, Jason (USADC)” <Jason.McCullough2@usdoj.gov>, "Kenerson, Erik (USADC)"
<Erik.Kenerson@usdoj.gov>, "Mulroe, Conor (CRM)" <Conor.Mulroe@usdoj.gov>, "Moore, Nadia (USADC)"
<Nadia.Moore@usdoj.gov>, Nicholas Smith <nds@davidbsmithpllc.com>, "J. Daniel Hull" <jdhull@hullmcguire.com>, Norm
Pattis <NPattis@pattisandsmith.com>, "chernan7_aol.com" <chernan7@aol.com>, Nayib Hassan
<hassan@nhassanlaw.com>, "sabino@jaureguilaw.com" <sabino@jaureguilaw.com>, "fedcases@metcalflawnyc.com"
<fedcases@metcalflawnyc.com>, "rogerisaacroots@outlook.com" <rogerisaacroots@outlook.com>

Judge will now be taking the bench at 9:25AM.

Katrina Harris

Courtroom Deputy to the Honorable Timothy J. Kelly
U.S. District Court for the District of Columbia

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Mogg G Meal | Nicholas Smith <nds@davidbsmithpllc.com>

Re: Verdict Form and Jury Question about Counts One and Four

Carmen D. Hernandez <chernan7@aol.com> Wed, May 3, 2023 at 7:27 AM
Reply-To: "Carmen D. Hernandez" <chernan7@aol.com>

To: "Jason.McCullough2@usdoj.gov" <Jason.McCullough2@usdoj.gov>, "Erik.Kenerson@usdoj.gov"
<Erik.Kenerson@usdoj.gov>, "Nadia.Moore@usdoj.gov" <Nadia.Moore@usdoj.gov>, "Conor.Mulroe@usdoj.gov"
<Conor.Mulroe@usdoj.gov>, "nds@davidbsmithplic.com" <nds@davidbsmithpllc.com>, "jdhull@hullmcguire.com"
<jdhull@hullmcguire.com>, "npattis@pattisandsmith.com" <npattis@pattisandsmith.com>, "sabino@jaureguilaw.com"
<sabino@jaureguilaw.com>, "hassan@nhassanlaw.com” <hassan@nhassanlaw.com>, "metcalflawnyc@gmail.com"
<metcalflawnyc@gmail.com>, "rogerisaacroots@outlook.com" <rogerisaacroots@outlook.com>,
"kelly_chambers@dcd.uscourts.gov" <kelly_chambers@dcd.uscourts.gov>

Judge Kelly,

On behalf of Mr. Rehl, | am hereby requesting that the Court take up the Verdict
Form (pp3-4) with respect to Count 4. In addition to the point | raised yesterday that
it does not include the element of "force intimidation, or threat", the Verdict Form also
refers back to "Count One", which | believe is a mistake.

In retrospect, this error may be the basis for the jury's questions yesterday about the
objectives and goals in Counts One and Four.
So that we also need to revisit the answer that was provided to the Jury yesterday.

It also may require a mistrial.
Count Four: Conspiracy to Prevent Members of Congress or federal
officers from Discharging Their Duties

A. Do you find that the government has proved beyond a reasonable
doubt the existence of the conspiracy charged in Count Four?

If your answer is “No,” you must enter a verdict of Not Guilty as to Count
Four for each defendant listed in C below.

If your answer is “Yes,” answer parts B and C below.

B. Did the conspiracy charged in Count One include one or both of the
following goals?

Goal One: To prevent a Member of Congress or
federal officer from discharging a duty as a Member
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of Congress or federal officer?
No Yes

Goal Two: To induce a Member of Congress or
federal officer to leave the place where the Member
of Congress or federal officer’s duties are required
to be performed?

No Yes

Carmen D. Hernandez

Attorney at Law

7166 Mink Hollow Rd

Highland, MD 20777
240-472-3391; 301-854-0076 (fax)

From: Kelly Chambers <Kelly_Chambers@dcd.uscourts.gov>

To: McCullough, Jason (USADC) <Jason.McCullough2@usdoj.gov>; Kenerson, Erik (USADC)
<Erik.Kenerson@usdoj.gov>; Moore, Nadia (USADC) <Nadia.Moore@usdoj.gov>; Mulroe, Conor (CRM)
<Conor.Mulroe@usdoj.gov>; Nicholas Smith <nds@davidbsmithpllc.com>; John Daniel Hull <jdhull@hullmcguire.com>;
Norm Pattis <npattis@pattisandsmith.com>; chernan7_aol.com <chernan7@aol.com>; Sabino Jauregui
<sabino@jaureguilaw.com>; Nayib Hassan <hassan@nhassanlaw.com>; metcalflawnyc@gmail.com
<metcalflawnyc@gmail.com>; Roger Roots <rogerisaacroots@outlook.com>

Sent: Fri, Apr 21, 2023 6:01 pm

Subject: Verdict Form

Good evening all,

Attached please find the Court’s revised verdict form, which resolves the disputes in the parties’ original joint proposal on
grounds set out during the charging conferences. It also adds a lesser-included theft offense for Count 10, consistent
with the jury instructions.

Thank you,

Chambers of the Hon. Timothy J. Kelly

U.S. District Court for the District of Columbia
333 Constitution Ave. NW

Washington, DC 20001

(202) 354-3000
